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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                     WACO DIVISON

    LATINOS FOR TRUMP, BLACKS                          §
    FOR TRUMP, JOSHUA MACIAS,                          §
    M.S., B. G., J.B., J.J.,                           §
                                                       §
          Plaintiffs.                                  §
                                                       §
                                                       §
    v.                                                 §        CIVIL ACTION NO. 6:21-CV-43
                                                       §
    PETE SESSIONS, MITCH                               §
    McCONNELL, NANCY PELOSI,                           §
    MARK ZUCKERBERG, CHUCK                             §
    SCHUMER, ALEXANDRIA                                §
    OCASIO-CORTEZ, BRAD                                §
    RAFFENSPERGER, ALL                                 §
    MEMBERS OF THE 117TH U.S.                          §        JURY TRIAL REQUESTED
    CONGRESS, et al.,

          Defendants.

                            TEMPORARY RESTRAINING ORDER

After considering Plaintiff’s Motion for Temporary Restraining Order against

Defendants, ex parte, due to the risk of immediate and irreparable harm, to be caused

to Plaintiffs by the members of the illegitimate 117th “Congress” and the 46th

“President,” Joseph P. Biden,1 whom said illegitimate Congress did unlawfully

confirm to the office, who unlawfully hold the mantles of office, to temporarily

restrain the effects of their illegal acts (including the barrage of executive orders,

which severely threaten economic stability) and to restore the status quo ante, on the



1
  A third party beneficiary of the Defendants’ illegal acts, and who also participated in the 107th Congress in the
legislative process leading up to and including his vote of “yes” to pass the Help America Vote Act of 2002, showing
direct and specific knowledge of the law.


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pleadings, declarations, expert reports, and other documentary evidence in support

thereof, the Court FINDS as follows:

       1.     Plaintiffs will likely suffer the following immediate and irreparable

injury, loss, or damage in the following manner: (1) loss of the ability to a government

by consent of the governed by virtue of being deprived of the fundamental right to

legally vote in federal elections; (2) imminent transformation of the United States

into an oppressive police state that persecutes those with political views differing

from those in control of government, and (3) severe financial harm without the ability

to collect damages because of the risk that the United States will cease to be a safe

haven for the capital assets of investors and that the economy is likely to experience

severe instability if controlled by a patently illegitimate government seated in

violation of the very election laws enacted for the purpose of assuring election

integrity to the American People.

       2.     This injury is irreparable because it would be impossible to calculate an

appropriate amount of monetary damages to compensate Plaintiffs for the loss of the

right to a government by consent of the governed and the financial harm that would

ensue with no clear way to recover monetary damages in the face of economic

volatility.

       3.     There is a substantial likelihood that Plaintiffs will prevail on the merits

of their claims.

       4.     The threatened harm to Plaintiff vastly outweighs the harm that a

temporary restraining order would inflict on Defendants, which have no




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constitutionally guaranteed right to personally hold office, especially in the face of

the allegations in the Complaint and evidence in the record.

        5.       Issuance of a temporary restraining order would not adversely affect the

public interest and public policy because it will serve to protect the public during the

constitutional crisis until the Court can hold an evidentiary hearing.

        6.       This ex parte order is granted without notice to the Defendants because

notice of a hearing risks that Defendants may destroy evidence and because it would

be impracticable to serve the numerous amount of Defendants, and because, given

the nature of egregious acts of Defendants alleged in the Complaint as supported by

the evidence in the record to this date, including the documents attached to the

Complaint, there is no less drastic remedy to protect the Plaintiffs’ sacred

constitutional and natural rights, i.e. the right to a government by consent of the

governed by “We the People” through their substantive due process right to cast a

legal vote in federal elections.

FOR THESE REASONS AND for the purpose of maintaining the status quo ante, on

August 1, 2021,2 of a republican form of government through the checks and balances

prescribed in the Constitution of the United States, the Court hereby enters the

following TEMPORARY RESTRAINING ORDER (the “TRO”), pending a Preliminary

Injunction hearing:




2
 August 1, 2021 is a date before the 2020 election campaigns for Congress and the President began. Oftentimes,
there are seismic shifts in government bureaucracies and policy just prior to an election as government officials
tend to shift policy and personnel positions in anticipation of who may come to power in the wake of an election.


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A. MATTERS OF CONDUCT OF LEGISLATIVE FUNCTION

 (1)   As there is substantial likelihood that Plaintiffs will prevail on the merits,
       all members of the 117th US Congress, who were elected in the 2020
       elections in apparent violation of the Help America Vote Act of 2002, as
       amended (“HAVA”) (all such members of Congress, collectively hereinafter,
       the “Disputed Congress”) shall be temporarily barred from holding public
       office;

 (2)   All Senators who were not subject to the 2020 Election shall remain in
       office, except for current Senators who participated in the legislative
       process and/or the vote that led to the enactment of the HAVA shall also be
       temporarily barred from holding public office (the “Complicit Senators”)
       because they likely knew or reasonably should have known of the harm
       being perpetrated on the American electorate through pervasive violations
       of HAVA, yet failed to take any action to stop it;

 (3)   All remaining Senators shall constitute the entire Legislative branch (the
       “Congress Pro Tempore”) but shall not have the power to enact new
       legislation or exercise any authority other than what is necessary for the
       minimum administrative or ministerial functions essential to the
       continuity of government;

 (4)   All actions taken by Congress with the participation of any members of the
       Disputed Congress and/or the Complicit Senators (collectively, the
       “Restrained Congress”) since January 3, 2021, including but not limited to:
       (1) All actions taken under Title 3 of the United States Code in counting the
       Electoral College votes and confirming Joseph Biden as President-Elect,
       leading to his likely unlawful inauguration as President; (2) All actions
       taken pursuant to Article II, Section 4 of the Constitution to impeach and/or
       convict the 45th President, Donald J. Trump, during or after his term in
       office; and any other actions and/or legislation taken prior to notice of this
       TRO upon the Restrained Congress are hereby temporarily enjoined from
       enforcement, such that the same shall have no longer have lawfully
       enforceable effect pending a preliminary injunction hearing;

 (5)   The Restrained Congress and their respective staff are temporarily enjoined
       from access to the U.S. Capitol building and any ancillary offices on Capitol
       Hill and local offices in their respective states, and from the use of all titles,
       benefits, or authorities therefrom;

 (6)   The respective Sergeants at Arms of the Senate and of House of
       Representatives are hereby ORDERED to bar entry thereto and to take all


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      reasonable and necessary steps to immediately and without prior notice
      escort, escort any members of the Restrained Congress and their staff out of
      the Capitol building and their respective ancillary Washington, D.C. offices,
      and are further ordered to immediately lock all doors to the all such offices
      and rooms in the Capitol building and ancillary office buildings including
      congressional offices of Congress and preserving any materials located
      therein in said offices (the “Sequestered Materials”) not to be disturbed by
      any person absent order of this Court so as to be preserved for discovery and
      inspection in connection with the allegations set forth in Plaintiffs’
      Complaint; no materials shall be shall be removed by the Restrained
      Congress from the Capitol under any circumstance other than bona fide
      personal items on their physical person that do not include electronic devices
      and any items containing information related to their previous duties, which
      shall be confiscated and held for forensic inspection as the Court may direct
      and shall be considered to be part of the Sequestered Materials.

(7)   Any dispute or conflict that arises from this section pertaining to the
      legislative branch shall be presented to this Court, who shall be the final
      arbiter thereof while this TRO remains in effect;

B. MATTERS OF CONDUCT OF EXECUTIVE FUNCTION

(8)   As there is a substantial likelihood that Plaintiffs will prevail on the merits
      that Congress’s act in confirming Joseph Biden as the President-Elect and
      Kamala Harris as Vice President-elect were unlawful acts by an illegitimate
      Congress. Accordingly, Mr. Biden, Ms. Harris, and the Executive Branch
      are hereby temporarily enjoined from exercising any authority to make a
      policy departure from the previous administration under President Donald
      J. Trump while this TRO remains in effect;

(9)   The Court hereby appoints a committee of special masters (the “Stewards”),
      one Steward for each Executive Branch Cabinet Position to be composed of
      the former members of the previous administration’s Cabinet existing as of
      August 1, 2020, a specific list of Stewards forthcoming;

(10) The Stewards shall have the ability to utilize the West Wing of the White
     House to assure to take all reasonable and necessary steps to assure the
     lawful continuity of government and shall will have the exclusive authority
     as to staffing issues, including the retention of, replacement of, and
     maintenance of thereof, to the extent such actions would generally be
     considered administrative or procedural processes under normal
     circumstances;




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(11) All persons who participated or were complicit in the legislative process in
     the 107th Congress leading to enactment of the Help America Vote Act of
     2002, including all amendments thereto and subsequent violations thereof,
     including but not limited to former Vice President Mike Pence, and any
     member of such persons’ staff thereof shall be barred from holding any
     position and exercising any authority in government or administration of
     government while this TRO remains in effect and shall be specifically barred
     from acting as a Steward under this TRO;

(12) The Stewards shall have the power to veto or reverse any decision regarding
     policy, foreign or domestic, or any action already taken or to be taken by Joe
     Biden, Kamala Harris, and the current Executive Branch, (collectively the
     “Disputed Administration”) to the extent that any such action has not been
     already been restrained by this TRO as set forth below;

(13) All executive actions taken by the Disputed Administration prior entry of
     this TRO and prior to notice of same shall hereby be temporarily reversed
     and given no effect, and the Disputed Administration shall take all
     necessary and proper action to immediately reverse such actions; any delay
     in taking such actions to reverse such actions shall held to be in contempt of
     this TRO and such persons acting in contempt shall be subject to the
     consequences of contempt set forth in the Federal Rules of Civil Procedure
     and any other applicable laws or rules of Court;

(14) Together, the Stewards and the Congress Pro Tempore shall act jointly in
     administering government and shall be known, collectively, as the “Joint
     Trustees;” the same shall administer governmental activities for the
     continuity of government within the strict confines of the Constitution and
     as further constrained by this TRO;

(15) Each of the two branches of temporary government as identified in the
     proceeding paragraph as the Joint Trustees shall appoint a “Speaker” for
     each branch, which shall affirmed by the other, who shall act jointly to
     address the nation, discuss operational policies and in the case of acts of
     extremis jointly hold the “emergency powers of President.”

(16) The Joint Trustees shall enact procedures among themselves to act in
     accordance with the lawful continuity of government to preserve the
     Constitution while this TRO is in effect;

(17) Any dispute or conflict that arises from this section pertaining to the
     executive branch, the Stewards or the Joint Trustees shall be presented to
     this Court, who shall be the final arbiter thereof while this TRO remains in
     effect;



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C. USE OF THE WHITE HOUSE AND OTHER ASSETS

 (18) Joseph Biden and Jill Biden are hereby temporarily enjoined from using the
      residence of the White House and the Secret Service shall immediately
      relocate Mr. and Mrs. Biden to Blair House, the guest house of the sitting
      U.S. President, while this Order is in force, as residence in the White House
      is a privilege paid for by the American taxpayers;

 (19) The Secret Service is hereby ORDERED to immediately escort Joe Biden
      and Jill Biden (collectively, the “Bidens”) out of the White House and to their
      personal residence where the Secret Service shall provide all appropriate
      security and all appropriate measures to ensure secure communications for
      the continued function of the Executive Branch, prescribed by this TRO;
      their staff may use the White House offices to conduct official Executive
      Branch business subject to the above provisions and shall establish a secure
      method of communicating with Joseph Biden; the Secret Service shall
      arrange for delivery of all personal effects of the Bidens to Blair House and
      shall take all necessary actions to prevent the same from being removed
      from Blair House to preserve evidence related to this case;

 (20) The Bidens, Kamala Harris, and Doug Emhoff (collectively, the “Disputed
      Executive Families”) are hereby temporarily enjoined from deleting or
      removing any information from any electronic devices or clouds within their
      possession or control while this TRO remains in effect;

 (21) The Disputed Executive Families shall not be permitted to use Air Force
      One, Air Force Two, Marine One, Camp David, or any other similar vehicles,
      assets, or properties (the “Executive Assets”) without the express approval
      of the Joint Trustees by majority vote, on a case-by-case basis, and
      specifically not, under any circumstance for any political or ceremonial
      purpose;

 (22) The Stewards shall designate an “Emergency Steward” among one of
      themselves by any means they deem appropriate; if any matter arises that
      poses an imminent national security threat or similar exigent circumstance
      or threat relating to the well-being of the nation (“Emergency Event”); such
      matter shall be immediately communicated to the Stewards through a
      secure line; the Emergency Steward shall have the power that would
      normally be vested in the President of the United States during any such
      Emergency Event; the Emergency Steward, the Stewards, and other persons
      designated by the Emergency Steward shall have access to the Situation
      Room and any secure bunkers in, under, or ancillary to the White House or
      may brought in by teleconference, as may be appropriate; in no event shall



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         Joseph Biden or Kamala Harris have the authority to take any action in an
         Emergency Event but are required to immediately notify the Emergency
         Steward if they receive notice of any event which reasonably meets the
         definition of an Emergency Event.

   (23) The “Nuclear Football” shall be under the exclusive control and authority of
        the Stewards at all times and shall only be used by direct order of the
        Emergency Steward, who shall act in a manner of succession if both
        Speakers are incapacitated;

   D. MATTERS OF PROTECTION OF CIVIL RIGHTS RELATED TO THIS
      CASE

The lawful purpose of the following temporary orders is to protect the civil rights of
the Plaintiffs and persons with a probable right of action arising under this case who
may later join as plaintiffs and their right to adequate representation by undersigned
Counsel.

   (24) The Department of Justice, the Federal Bureau of Investigation, and any
        other bureaucratic federal agency with the power or ability to arrest and/or
        detain U.S. Citizens (the “Police Agencies”) are hereby temporarily enjoined
        from arresting and/or holding in custody Plaintiffs’ undersigned lead
        counsel, Paul M. Davis and co-counsel, Kellye SoRelle, and any other person
        who voted in the federal elections of 2020 and/or the 2021 Georgia Senate
        Runoff, which resulted in the Restrained Congress taking office on January
        3, 2021, in relation to the exercise of their First Amendment civil right to
        peaceably assemble in protest provided that such persons (collectively and
        in their respective personal capacities, the “Peaceful Protestors”) sign a
        Declaration under penalty of perjury that they (1) voted in the 2020 federal
        election, (2) did not commit am unprovoked, non-defensive, overt, and
        intentional act of violence against a police officer or other security force that
        risked significant physical harm to the same; (3) did not use force to enter
        the Capitol building; and (4) did not intentionally vandalize any property in
        or around the Capitol building during their attendance at the January 6,
        2021 protest in Washington, D.C. (the “March for Trump”);

   (25) If any of the Peaceful Protestors make such a declaration in the form on
        Exhibit 1 attached hereto, they may keep a copy in a secure location of their
        choosing, and if they are arrested and/or held in custody by a Police State
        Agency, any friend or family member of such person may deliver the same
        to Counsel for the Plaintiffs who will submit the same to the Court; and upon
        such submission the offending Police Agency shall appear before the Court
        to show good cause for holding such person by producing clear and
        convincing evidence that the Declaration is false; if the Police Agency fails
        to produce such evidence, the same shall release the Peaceful Protestor from


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     custody, unharmed, and shall refrain from harassing the same in any
     manner; to the extent any Police Agency takes into custody or harms the
     physical person of any Peaceful Protestors while this order is in effect or
     while this order is being considered by the Court after being publicly-filed
     on the Court’s electronic docket without the Police Agency first obtaining
     clear and convincing evidence that any statement in the form of Declaration
     identified above is false, the agents acting on behalf of the Police Agency
     shall be held in contempt of court upon execution of this TRO;

(26) Furthermore, any Person, whether private citizen or public official found to
     be threatening and/or taking an overt act against the safety and/or the life,
     liberty or property, including calling for the termination of, vandalizing the
     property of, threatening the family or friends of or taking any action to harm
     the same, or taking any similar action against a Peaceful Protestor who has
     signed a Declaration in the form described herein for the purpose of
     interfering with their civil rights related to this lawsuit shall be subject to
     contempt of Court proceedings, upon a showing of a preponderance of
     evidence that such conduct occurred for the purpose of interfering in such
     Peaceful Protestors’ civil rights to participate in this lawsuit to have their
     grievances addressed by the federal courts; the Court to determine an
     appropriate remedy on a case-by-case basis;

E. PROTECTION OF THIS COURT PENDING RESOLUTION OF THIS
   ACTION

(27) The Secret Service shall work jointly with the US Marshalls Service to
     ensure the safety and security of this Court and all members thereof until
     such time as this matter before the Court has been fully resolved and
     thereafter, as appropriate;

F. OTHER ACTIONS TAKEN IN ANTICIPATION OF THE ENTRY OF
   THIS ORDER

(28) ANY PERSON AFFECTED BY THIS TRO, WHO, AFTER THE PUBLIC
     FILING OF PLAINTIFFS’ PROPOSED FORM OF THIS TRO ON THE
     COURT’S ELECTRONIC DOCKET, WHO RECEIVES REASONABLE
     NOTICE THEREOF, AND THEN PROCEEDS TO TAKE ANY ACTION TO
     PREEMPTIVELY SUBVERT THE PURPOSE AND EFFECT OF THIS
     TRO, INCLUDING THE DESTRUCTION OF EVIDENCE OR
     INTERFERENCE WITH THE CIVIL RIGHTS OF PLAINTIFFS AND
     PEACEFUL PROTESTORS, SHALL BE SUBJECT TO CONTEMPT OF
     COURT PROCEEDINGS ON A CASE-BY-CASE BASIS.




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      The clerk is ORDERED to take all reasonable and necessary steps to work with

Counsel for Plaintiffs to issue notice of this TEMPORARY RESTRAINING ORDER

to all agencies, executives, legislative bodies of Government, including federal and

state, or any other governmental authority necessary to execute the provisions of this

Order, including, specifically, Joseph Biden, Kamala Harris, Defendants named in

the Complaint acting in a capacity of government, or other persons as the Court may

deem appropriate, including those persons who would qualify to be Stewards,

members of Congress Pro Tempore, the Joint Trustees, and to the members and staff

thereof and of the Disputed Administration and Restrained Congress, and that the

hearing on Plaintiff’s request for preliminary injunction is set for no less than 14 days

from the entry of this order and shall be set, accordingly, on________________, 2021,

at ___ a.m./p.m. However, given the voluminous amount of expedited discovery

necessary to occur prior to the hearing on the request for preliminary injunction,

Plaintiffs are encouraged to apply for extension of this TEMPORARY RESTRAINING

ORDER for an additional 14 days pursuant to Fed. R. of Civ. P. 65(b)(2) and

thereafter by agreement between the parties.

Plaintiff to post bond in the amount of $____________________.

This order will expire on ___________                 , 2021.



SIGNED on ___________             , 2021, at ___       a.m./p.m.




PRESIDING JUDGE



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                              FORM OF ORDER SUBMITTED BY:


                              /s/ Paul M. Davis
                              Paul M. Davis
                              Texas Bar Number 24078401
                              Admitted to Western District of Texas
                              Former Associate General Counsel of
                              Goosehead Insurance, Inc.
                              (Terminated after peacefully protesting)
                              Now Solo Civil Rights Attorney

                              Kellye SoRelle
                              Law Office of Kellye SoRelle
                              Texas Bar Number 24053486
                              Admitted Pro Hace Vice

                              ATTORNEYS FOR PLAINTIFFS




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                    EXHIBIT 1




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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                WACO DIVISON

LATINOS FOR TRUMP, BLACKS                  §
FOR TRUMP, JOSHUA MACIAS,                  §
M.S., B. G., J.B., J.J.,                   §
                                           §
        Plaintiffs.                        §
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                                           §
v.                                         §      CIVIL ACTION NO. 6:21-CV-43
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PETE SESSIONS, MITCH                       §
McCONNELL, NANCY PELOSI,                   §
MARK ZUCKERBERG, CHUCK                     §
SCHUMER, ALEXANDRIA                        §
OCASIO-CORTEZ, BRAD                        §
RAFFENSPERGER, ALL                         §
MEMBERS OF THE 117TH U.S.                  §      JURY TRIAL REQUESTED
CONGRESS, et al.,

        Defendants.

                                    DECLARATION

        My name is ___________________. I am competent to make this Declaration

and swear under penalty of perjury as follows:

     1. “I voted in the 2020 federal election;

     2. I did not commit an unprovoked, non-defensive, overt, and intentional act of

        violence against a police officer or other security force that could have resulted

        in physical harm to the person of the same;

     3. I did not use force to enter the Capitol building; and




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4. I did not vandalize any property in or around the Capitol building during their

   attendance at the January 6, 2021 protest in Washington, D.C. known as the

   ‘March for Trump’ or similar name.”




Signed on this day of:____________________________




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